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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION


MICHAEL WESLEY                                                                         PLAINTIFF


V.                                 CASE NO. 4:17-CV-04013


DEPARTMENT OF
VETERAN’S AFFAIRS, et al.                                                           DEFENDANTS


                                              ORDER

       Before the Court is Plaintiff’s Motion to Reconsider. ECF No. 5. Plaintiff asks the Court

to reconsider the order of the Honorable Barry A. Bryant transferring this matter to the United

States District Court for the Southern District of Georgia. Judge Bryant found that the Western

District of Arkansas was the improper venue and transferred the case to the Southern District of

Georgia in the interest of justice, pursuant to 28 U.S.C. § 1406(a). ECF No. 4.

       When a case is transferred to a new district and “the papers are lodged with the clerk of

the transferee court, the transferor court and the appellate court for the circuit in which that court

sits lose jurisdiction over the case and may not proceed further with regard to it.” 15 CHARLES

ALAN WRIGHT, ARTHUR R. MILLER, EDWARD H. COOPER, & RICHARD D. FREER, FEDERAL

PRACTICE AND PROCEDURE § 3846 (4th ed. 2013). In the present case, this matter was transferred

to the Southern District of Georgia on March 23, 2017. On March 24, 2017, the case was opened

in the Southern District of Georgia and given case number 1:17-CV-00035. The instant Motion

to Reconsider was subsequently filed on March 31, 2017. ECF No. 5. Thus, because the present

motion was filed after this case was transferred to and opened in the Southern District of
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Georgia, the Court lacks jurisdiction over this matter and Plaintiff’s Motion to Reconsider should

be denied.

       Therefore, for the foregoing reasons, the Court finds that Plaintiff’s Motion to Reconsider

(ECF No. 5) should be and hereby is DENIED.

       IT IS SO ORDERED this 25th day of April, 2017.

                                                              /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge




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